   Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 1 of 33 PageID 10
EXHIBIT A
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 2 of 33 PageID 11
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 3 of 33 PageID 12
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 4 of 33 PageID 13
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 5 of 33 PageID 14
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 6 of 33 PageID 15
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 7 of 33 PageID 16
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 8 of 33 PageID 17
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 9 of 33 PageID 18
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 10 of 33 PageID 19
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 11 of 33 PageID 20
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 12 of 33 PageID 21
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 13 of 33 PageID 22
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 14 of 33 PageID 23
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 15 of 33 PageID 24
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 16 of 33 PageID 25
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 17 of 33 PageID 26
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 18 of 33 PageID 27
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 19 of 33 PageID 28
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 20 of 33 PageID 29
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 21 of 33 PageID 30
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 22 of 33 PageID 31
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 23 of 33 PageID 32
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 24 of 33 PageID 33
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 25 of 33 PageID 34
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 26 of 33 PageID 35
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 27 of 33 PageID 36
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 28 of 33 PageID 37
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 29 of 33 PageID 38
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 30 of 33 PageID 39
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 31 of 33 PageID 40
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 32 of 33 PageID 41
Case 3:17-cv-02030-N Document 1-1 Filed 08/01/17   Page 33 of 33 PageID 42
